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                                    ORIGINAL
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                          IN THE UNITED STATES DISTRICT COURT
      9
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     12
     13   ALEXIS YANCY AND JAYDEN                       15cv0580 JM (PCL)
          YANCY, BY AND THROUGH
     14   THEIR GUARDIAN AD LITEM,
          KATHERINE HAWK,
     15   INDIVIDUALLY AND ON BEHALF                    SPECIAL VERDICT FORM
          OF THE ESTATE OF TOMMY
     16   YANCY, JR., DECEASED,
     17                               Plaintiffs,
     18              v.
     19
          CHP OFFICER GILBERT
     20   CALDERA; CHP OFFICER
          SALVADOR ACEVEDO,
     21
                                    Defendants.
     22
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                                                        Special Verdict Form (15-cv-0580 JM (PCL))
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 1
     FEDERAL CIVIL RIGHTS CLAIM - ESTATE OF TOMMY YANCY
 2
               1. Did either Defendant use excessive force against Tommy Yancy in
 3
     violation of the Fourth Amendment?
 4
                    (a) Defendant Gilbert Caldera?
 5
                               ANSWER YES OR NO:             ND
 6
                    (b) Defendant Salvador Acevedo?
 7
                               ANSWER YES OR NO: NO
 8
 9
     INSTRUCTION: If your answer to question 1 is "NO" as to both Defendants,
10
     please proceed to question 4, below. If your answer to question 1, above, is "YES"
11
     as to either Defendant, please proceed to question 2.
12
13
               2. Did the use of excessive force by either Defendant for whom you
14
     answered "YES" cause harm to Tommy Yancy?
15
                    (a) Defendant Gilbert Caldera?
16
                               ANSWER YES OR NO: - - -
17
                    (b) Defendant Salvador Acevedo?
18
                               ANSWER YES OR NO: - - -
19
20
     INSTRUCTION: If your answer to question 2, above, is "YES" as to either of the
21
     Defendants, please proceed to question 3. If your answer to question 2 is "NO", or
22
     was not applicable, as to both Defendants, please proceed to question 4, below.
23
24
               3. What amount of damages, if any, was proven for any mental, physical,
25
     and emotional pain and suffering of Tommy Yancy before his death?
26
                                                                $ _ _ _ __
27
     INSTRUCTION: Answer question 4.
28
                                               2
                                                   Special Verdict Form (15-cv-0580 JM (PCL))
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 1
     STATE LAW BATTERY CLAIM-ALEXIS and JAYDEN YANCY
 2
               4. Did Defendant Salvador Acevedo commit a battery against Tommy
 3
     Yancy?
 4
                               ANSWER YES OR NO:           NO
 5
 6
     INSTRUCTION: If your answer to question 4 is "NO", stop here, answer no
 7
     further questions and have the Presiding Juror date and sign this form. If your
.8
     answer to question 4 is "YES", please proceed to question 5.
 9
10
               5. Did the battery upon Tommy Yancy by Defendant Salvador Acevedo,
11
     cause loss or harm to Plaintiffs?
12

13
                               ANSWER YES OR NO: - - -
14
15
     INSTRUCTION: If your answer to question 5 is "NO", stop here, answer no
16
     further questions and have the Presiding Juror date and sign this form. If your
17
     answer to question 5 is "YES" as to either of the Defendants, proceed to question 6.
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                                                  Special Verdict Form (15-cv-0580 JM (PCL))
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 1
               6. What amount of damages, if any, do you find will compensate
 2
     Plaintiff Alexis Yancy and Plaintiff Jayden Yancy for the loss of Tommy Yancy's
 3
     love, companionship, comfort, care, assistance, protection, affection, society, moral
 4
     support, training and guidance?
 5
                    (a)   Plaintiff Alexis Yancy:                     $ _ _ _ __
 6
 7
                    (b) Plaintiff Jayden Yancy:                       $ _ _ _ __
 8
 9
     INSTRUCTION: End of questions. Have the Presiding Juror date and sign this
10
     form.
11
12
13
          Dated:     '/1'/2_~0
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17
18        Once the verdict form is signed, please deliver the verdict form to the judge.

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                                                    Special Verdict Form (15-cv-0580 JM (PCL))
